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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF VIRGINIA
                                   CHARLOTTESVILLE DIVISION



   UNITED STATES OF AMERICA                            CRIMINAL NO. 3:04-cr-00047-2

                         v.                            OPINION

                                                       JUDGE NORMAN K. MOON
   LAMONT D. PAYNE


          Pending before the court is defendant Lamont D. Payne’s (“Defendant”) motion

   (docket no. 1552) to instruct the Bureau of Prisons (“BOP”) to commence his sentence as

   of the date of his federal sentencing, September 1, 2006. BOP has run the sentence as of

   July 9, 2007, the date of Defendant’s release from state custody. I construe Defendant’s

   motion as a motion to correct or amend his sentence.

          Defendant suggests that the decision to run the federal sentence consecutively

   with his state sentence might stem from a clerical error in the amended judgment filed

   August 14, 2008 (docket no. 1333), which the court may correct pursuant to Fed. R.

   Crim. P. 36. However, as made clear in this court’s memorandum opinion and order

   dated August 8, 2008 (docket nos. 1327 and 1328), there is no such error here. As

   indicated in that opinion, the sentence of 103 months incarceration reflects a downward

   adjustment from a guideline minimum of 121 months. The downward adjustment was

   meant to take account of time served on Defendant’s state sentence. Such an adjustment

   is specifically provided for in Section 5G1.3(b)(1) of the U.S. SENTENCING GUIDELINES.

   Therefore, the judgment accurately reflects this court’s clear intent that the federal

   sentence was to run from the date of Defendant’s release from state custody.
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          To the extent that Defendant’s motion is made pursuant to some rule other than

   Rule 36, it is apparent that this court lacks jurisdiction to decide it. Under 18 U.S.C. §

   3582(c), a court “may not modify a term of imprisonment except . . . upon motion of the

   Director of the Bureau of Prisons . . . [or] to the extent otherwise expressly permitted by

   statute or Rule 35 of the Federal Rules of Criminal Procedure.” Rule 35 permits

   modification of a sentence within 14 days of sentencing to correct “clear error,” or

   otherwise upon the government’s substantial assistance motion. None of the

   circumstances in this case permit the court to modify Defendant’s sentence.

          Accordingly, Defendant’s motion will be DENIED in an accompanying order.

          The Clerk of the Court is directed to send a certified copy of this memorandum

   opinion and the accompanying order to all counsel of record and to the Defendant.
                        26th day of October, 2010.
          Entered this _____
